                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    ASHEVILLE DIVISION
                             CIVIL ACTION NO. 1:24-CV-00137-KDB

         CHRISTOPHER CARPENTER,

                 Plaintiff,

                 v.                                                 ORDER

         CAROLYN COLVIN, ACTING
         COMMISSIONER OF SOCIAL
         SECURITY,

                 Defendant.



         THIS MATTER is before the Court on Plaintiff’s Petition for Attorney Fees Under the

Equal Access to Justice Act 28 U.S.C. § 2412 (Doc. No. 11), to which the Defendant consents.

Having reviewed the motion, and for good cause shown, the Court will grant the relief requested.

         IT IS HEREBY ORDERED that the parties’ request is GRANTED and the Court awards

Plaintiff fees in the amount of $2,490.00. See 28 U.S.C. § 2412(d). Under Comm’r of Soc. Sec. v.

Ratliff, 560 U.S. 586, 130 S. Ct. 2521 (2010), the fee award will first be subject to offset of any

debt Plaintiff may owe to the United States. The Commissioner will determine whether Plaintiff

owes a debt to the United States. If so, the debt will be satisfied first, and if any funds remain, they

will be made payable to Plaintiff and mailed to Plaintiff’s counsel. If the United States Department

of the Treasury reports to the Commissioner that the Plaintiff does not owe a federal debt, the

government will exercise its discretion and honor an assignment of EAJA fees and pay the awarded

fees directly to Plaintiff’s counsel. No additional petition pursuant to 28 U.S.C. § 2412(d) shall be

filed.                                                          Signed: January 3, 2025
         SO ORDERED.




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